       Case 4:18-cv-00580-MW-CAS Document 23 Filed 01/07/19 Page 1 of 1




                      United States District Court
                                 CIVIL MINUTES - GENERAL


Case # 4:18cv580-MW-CAS                              Date    January 7, 2019


                           BRENDA C SNIPES v. RICK L SCOTT et al
DOCKET ENTRY:          Preliminary Injunction Hearing Held 12:58 – 2:55 p.m.

Court hears argument regarding [15] Emergency Motion for Preliminary Injunction. Ruling by
Court: Defendant Scott to file response to [18] Motion for Leave to File Second Amended
Complaint by 1/11/19. Order to follow.
_____________________________________________________________________________________________
PRESENT: HONORABLE MARK E WALKER, CHIEF UNITED STATES DISTRICT JUDGE

        Victoria Milton McGee              Megan Hague
                Deputy Clerk               Court Reporter

Attorney(s) for Plaintiff(s):                      Attorney(s) for Defendant Scott:
Bernadette Norris-Weeks                            Daniel Nordby
Michelle Austin Pamies                             John MacIver

                                                   Attorney for Defendant the Florida Senate:
                                                   Ashley Istler
                                                   Jeremiah Hawkes
_____________________________________________________________________________________________
PROCEEDINGS:           Preliminary Injunction Hearing Held

12:58 Court in session
1:01 Court hears argument regarding [15] Emergency Motion for Preliminary Injunction
2:12 Court in recess


2:21   Court in session
       Argument continues regarding [15] Emergency Motion for Preliminary Injunction
2:53   Ruling by Court: Defendant Scott to file response to [18] Motion for Leave to File
       Second Amended Complaint by 1/11/19
2:55   Court’s order to follow
       Court adjourned

                                                                 Initials of Clerk: VMM
